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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Civil Action No. 1:17-cv-01638-RBJ

GARY R. BUTLER,
an individual,

       Plaintiff.

v.

TONY G. SPURLOCK, SHERIFF, DOUGLAS COUNTY, STATE OF COLORADO,
in his official and individual capacity,

       Defendants.


                    STIPULATION FOR DISMISSAL WITH PREJUDICE


       All parties, through their undersigned counsel, and pursuant to Fed.R.Civ.P. 41, hereby

stipulate and agree as follows:

       1.      Plaintiff agrees to voluntarily dismiss all of his claims without payment of any kind.

       2.      Defendant has not asserted any counterclaims.

       3.      Plaintiff and Defendant agree that this civil action and all claims asserted herein

shall be dismissed with prejudice, and that the Court may enter an order of dismissal with prejudice

without further action by the parties.

       4.      Plaintiff and Defendant agree that they shall each bear responsibility for their own

costs and attorney fees.
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 Respectfully submitted,


 /s/ Steven L. Murray                            /s/ Thomas S. Rice
 Steven L. Murray                                Thomas S. Rice
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 Counsel for Plaintiff                           Counsel for Defendant




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 10th day of October, 2018, I electronically filed a true
and exact copy of the above and foregoing with the Clerk of Court using the CM/ECF system
which will send notification of such filing to the following email addresses:

Steven L. Murray
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Attorney for Plaintiff Gary R. Butler

                                                    /s/ Tammy Stephenson
                                                   Legal Secretary
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